          Case 1:22-cr-00369-TSC Document 6 Filed 02/02/23 Page 1 of 1




                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF COLUMBIA


UNITED STATES OF AMERICA                          :
                                                  :
                v.                                :          CASE NO. 22-CR-369 (TSC)
                                                  :
VLADISLAV OSIPOV,                                 :
                                                  :
                      Defendant.                  :


                       NOTICE OF APPEARANCE OF COUNSEL

       The United States of America, by and through its attorney, the United States Attorney for

the District of Columbia, informs the Court and counsel that Assistant United States Attorney

Maeghan O. Mikorski is entering her appearance in this case.

                                                      Respectfully submitted,

                                                      MATTHEW M. GRAVES
                                                      UNITED STATES ATTORNEY
                                                      D.C. Bar 481052


                                            By:       /s/ Maeghan O. Mikorski
                                                      MAEGHAN O. MIKORSKI
                                                      Assistant United States Attorney
                                                      N.Y. Bar No. 5406202
                                                      U.S. Attorney’s Office for the
                                                      District of Columbia
                                                      601 D Street, NW
                                                      Washington, DC 20530
                                                      Maeghan.Mikorski@usdoj.gov
                                                      (202) 815-9024
